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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    JOHN DOE                                      :           CIVIL ACTION
                                                  :
      v.                                          :           No. 19-358
                                                  :
    UNIVERSITY OF THE SCIENCES                    :

                                             ORDER

           AND NOW, this 18th day of July, 2019, upon consideration of Defendant University of

the Sciences’ Motion to Seal Exhibit 2 to Motion to Dismiss the Amended Complaint, in which

Plaintiff John Doe has joined, it is ORDERED the parties are DIRECTED to file supplemental

letter briefs of no more than 5 pages addressing the Third Circuit’s decision in In re Avandia

Marketing, Sales Practices & Products Liability Litigation, 924 F.3d 662, 672-73 (3d Cir. 2019)

on or before July 25, 2019. 1



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  On April 15, 2019, Plaintiff John Doe filed an Amended Complaint in the above-captioned
matter, alleging violations of state and federal law in connection with his expulsion by Defendant
University of the Sciences after an internal investigation. The University moved to, attaching the
written report of its investigator (the Report) to the motion. The University also moved to seal the
Report. The Court subsequently ordered briefing to aid its weighing of the factors outlined in Pansy
v. Borough of Stroudsburg, 23 F.3d 772 (3d Cir. 1994).
        One day before the Pansy briefing was due, however, the Third Circuit issued its opinion
in In re Avandia Marketing, Sales Practices & Products Liability Litigation, holding that Pansy
applies to requests for protective orders in discovery, and that an “analytically distinct” inquiry
applies to motions to seal “judicial documents,” i.e., documents filed with the Court (as opposed
to those produced in discovery). 924 F.3d 662, 672-73 (3d Cir. 2019). Specifically, the Third
Circuit held that judicial documents are subject to a “strong presumption” of openness which may
only be overcome if the Court articulates “the compelling, countervailing interests to be protected,
make[s] specific findings on the record concerning the effects of disclosure, and provide[s] an
opportunity for interested third parties to be heard.” Id. at 672-73 (internal quotation marks and
citation omitted). “Specificity is essential,” and “broad allegations of harm, bereft of specific
examples or articulated reasoning, are insufficient.” Id. at 673.
        At this stage, the record before the Court is inadequate to satisfy the more fact-intensive
inquiry required by Avandia. Rather than deny the motion to seal, however, the Court directs the
parties to file supplemental letter briefs (either jointly or separately) describing, the specific
privacy interests and harm that would rebut the presumption of openness presently attached to the
Report.
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                              BY THE COURT:



                              /s/ Juan R. Sánchez
                              Juan R. Sánchez, C.J.
